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12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

15

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     JOHN DOE 4, JOHN DOE 5, JOHN DOE 6,
17   JOHN DOE 8, JOHN DOE 9, JOHN DOE 10,                PLAINTIFFS’ NOTICE OF MOTION
     JOHN DOE 11, and JOHN DOE 12, DOE 13,               AND MOTION FOR CLASS
18   DOE 14 individually and on behalf of all others     CERTIFICATION
     similarly situated,
19                                                       Hearing: January 30, 2025
                       Plaintiffs,                       Time: 9:30 a.m.
20                                                       Courtroom: B
     v.
21                                                       Judge: Hon. Laurel Beeler
     THE UNIVERSITY OF SAN FRANCISCO,                    Trial Date: None Set
22   ANTHONY N. (AKA NINO) GIARRATANO,
     and TROY NAKAMURA,
23
                       Defendant.
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                                                              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1               PLEASE TAKE NOTICE that on January 30, 2025 at 9:30 am, before the Honorable

 2   Laurel Beeler, Plaintiffs will and hereby do move for an order certifying this case as an issue class

 3   pursuant to Federal Rules of Civil Procedure 23(a) and 23(c)(4).

 4   I.          INTRODUCTION

 5               For over two decades, the University of San Francisco (“USF”) knew its head baseball

 6   coach, Anthony “Nino” Giarratano, and assistant baseball coach, Troy Nakamura (“the Coaches”),

 7   created and coercively maintained a sexualized environment on USF’s Division I baseball team.

 8   Discovery demonstrates that USF has long known the risks of abuse faced by student-athletes and

 9   the need to implement policies to protect them. Yet, year after year, USF failed to adopt and enforce

10   policies prohibiting such abuse, even after the Coaches’ misconduct prompted several complaints

11   to the university. USF’s deliberate indifference had tragic consequences.

12               Plaintiffs are thirteen former members of the USF baseball team who suffered abuse by the

13   Coaches, with USF’s (at times explicit) approval. All thirteen arrived at USF as elite athletes at the

14   start of promising baseball careers. All played—before and after USF—on other elite baseball

15   teams, including at the professional level. None experienced—before or since—another

16   environment where such profoundly disturbing sexualized abuse was normalized. Indeed, the

17   Coaches’ sexual conduct was so abhorrent and abusive that several highly-regarded recruits

18   contemplated suicide, while many others fled the team.

19               Plaintiffs’ expert Robert Boland, who served as Athletic Integrity Officer at Penn State in

20   the wake of the Jerry Sandusky scandal, explains the Coaches’ behavior was “egregiously

21   inappropriate and harmful to the student-athletes,” and that USF’s “rationalization [of it] not only

22   trivialized the harm caused to the athletes but also perpetuated a culture in which abusive behavior

23   by coaches could continue unchecked.” Boland opines that the Coaches’ reign of abuse was the

24   predictable result of USF’s deficient sexual misconduct policies and USF’s choice to ignore, by its

25   own admission, the “best practices” long ago adopted by other schools. Boland concludes: “USF

26   has failed to protect its student-athletes from sexual communications, sexual conduct, and grooming

27   behaviors,” and instead “create[d] an environment that heighten[ed] the risk of abuse.”1

28
     1
         Selbin Decl., Ex. 1 (“Boland Rep.”) at 14, 27, 8. All references to “Ex.” herein are to Selbin Decl.
                                                                    PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1               In this litigation, as in the past two decades, USF and the Coaches continue to minimize the

 2   severity of their misconduct and the resulting harms.2 Plaintiffs seek to finally hold them

 3   accountable. They seek certification of an issue class pursuant to Rules 23(a) and 23(c)(4) defined

 4   as: “All members of the University of San Francisco baseball team since 2000.” Issue certification

 5   is warranted because the common answers to the common questions detailed herein will “drive

 6   resolution of the class’ claims.” Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1166 n.5 (9th Cir.

 7   2014). With respect to their discrimination claims, liability will turn on the severity of the Coaches’

 8   misconduct, whether USF acted with deliberate indifference, and whether USF’s indifference

 9   created a heightened risk of abuse. With respect to their negligence claims, liability will turn on

10   whether USF and the Coaches owed a duty to protect class members from sexual misconduct,

11   whether they breached that duty, and whether vicarious and/or direct liability attaches. These are

12   binary, “yes/no” questions, the answers to which are identical for all class members—positive or

13   negative. Because they share this “fatal similarity,” they are common questions that support issue

14   certification. Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 470 (2013). With respect

15   to all other issues—including damages—Plaintiffs propose they be deferred to a second phase of

16   litigation, after common questions are answered for the class, consistent with the Ninth Circuit’s

17   guidance on bifurcation of liability and damages issues. Jimenez, 765 F.3d at 1166-67.

18   II.         SUMMARY OF FACTS

19               Plaintiffs await much of the discovery they sought in this case.3 Key facts continue to be

20   discovered by the day: several of the documents cited herein, for example, were produced less than

21   one week ago.4 But discovery to date reflects a decades-long pattern of uniform abuse by the

22   2
       As just one example: after Doe 8 testified that his shame about the Coaches’ sexualized abuse
     became so acute that he contemplated suicide, prompting his parents to “fly out to San Francisco
23   to make sure that [he] was alive the next morning,” USF asked him: “But did you at any point take
     steps – attempt to take steps to carry out suicide?” Ex. 20 (“Doe 8 Tr.”) at 37:25-38:11, 156:20-22.
24   He responded that he had, and described them. Id. at 156:23-157:2.
     3
25     USF has yet to produce key policy, complaint, and investigation files, and has yet to complete (or
     even provide an estimated date for completing) production for a single document custodian
26   (including the narrow subset identified by Plaintiffs as key to class certification), while Giarratano
     has yet even to begin electronic discovery (i.e., yet to produce a single text message or email). See
27   von Klemperer Decl. (“MvK Decl.”), ¶¶ 2-9 (detailing this and other outstanding discovery).
     4
       USF’s November 15, 2024 production (alone) included 2,505 documents, many of which
28   Plaintiffs were not able to complete reviewing while simultaneously preparing this motion. MvK
     Decl., ¶ 9. Such delays have prevented Plaintiffs from deposing a single witness. To wit: the most
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 1   Coaches, which was long known to—and long permitted by—USF’s uniform failure to act.

 2               A.     USF Acknowledges that Student-Athletes Face a Heightened Risk of
                        Sexualized Conduct and Abuse by Coaches.
 3               College coaches control almost every aspect of student-athletes’ lives. Absent adequate
 4   policies, college administrators are incentivized to look the other way. Under these circumstances,
 5   student-athletes are at a heightened risk of sexual abuse by coaches.
 6               Plaintiffs’ expert Robert Boland explains that athletics, and in particular college athletics,
 7   are notoriously hierarchical, with power flowing downward from the coach. Boland Rep. ¶¶ 24-25,
 8   35-36.5 Coaches directly control student-athletes’ recruitment, training, well-being, financial aid,
 9   scholarships, playing time, and prospects of going pro. Id. ¶ 35. Thus, coaches hold student-
10   athletes’ future careers, and even their ability to continue attending college, in their hands. For
11   many student-athletes, “the magnitude of the coach’s control will likely exceed . . . the extent of
12   control any individual has ever had over them at any point in their lives, with the exception of their
13   parents.” Id. ¶ 38 (quoting NCAA publication). In addition, by condoning, or even participating in
14   hazing (such as kangaroo courts, dare challenges, threats of physical violence, and actual physical
15   violence), coaches exert even more control and cement their influence over student-athletes. Id. ¶¶
16   43-45. Hazing reinforces a culture of fear and compliance, ensuring that student-athletes feel
17   powerless to resist or report a coaches’ abusive conduct. Id. The NCAA’s transfer rules traditionally
18   were also very restrictive, requiring student-athletes to document extraordinary circumstances and
19   coach approval. Id. ¶ 39. Before 2023, coaches could exploit these rules to prevent student-athletes
20   from transferring, making student-athletes even more susceptible to coaches’ control. Id.
21               Coaches exert this control with minimal to no oversight. Id. ¶¶ 32-38. As Boland explains,
22   coaches command substantial prestige on campus. Id. ¶ 33. Given the pressure to succeed (and the
23   resulting financial and intangible benefits), colleges compete fiercely for the best coaches, and
24   coaches are among the highest paid individuals on campus. Id. This can cloud college
25   administrators’ judgment and lead them to excuse or willfully ignore misconduct. Id. ¶ 34.
26
     recent production included key documents regarding witnesses Plaintiffs identified as key to class
27   certification, including the Coaches. Id. ¶¶ 9-10 & n2. Even assuming these were the last documents
     produced for these witnesses—and they are not—it would have been impossible for Plaintiffs to
28   notice and take their depositions all within the last four business days. Id. ¶ 10.
     5
       This power imbalance is well-documented. See Boland Rep. ¶ 24 (summarizing literature).
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 1                Given this power imbalance, interactions between coaches and student-athletes are

 2    inherently unequal and student-athletes are particularly at risk of sexual abuse by their coaches. Id.

 3    ¶ 40. As athletes advance to the upper echelons of their sport, the power balance grows:

 4            [A]thletes may be more susceptible to the grooming process . . . when they have
              reached a high standard of performance but are just below the elite level. We call this
 5            the ‘stage of imminent achievement’ (SIA). . . . In these circumstances it is not difficult
              for a coach with sexual motives to groom and gain compliance from the athlete.6
 6    Given this reality, student-athletes are not capable of consenting to sexual communications or
 7    interactions with coaches. See Boland Rep. ¶¶ 40, 43, 49 (citing literature). “In other words, the
 8    dynamics of the coach-athlete relationship in intercollegiate sport make any sexual contact between
 9    a coach and an athlete abusive, regardless of whether it was wanted by the athlete and regardless
10    of whether the athlete is over the age of consent.” Id. ¶ 49 (quoting research).
11                USF internally acknowledges this power imbalance and the risk it poses. A policy memo
12    authored by an assistant to an Associate Dean recognized that relationships between faculty or staff
13    and students are “problematic based on power differentials” and present risks of harassment,
14    discrimination, and retaliation. Id. ¶ 50 (citing USF_0040035). Further, a 2024 USF policy analysis
15    concluded that it “made particular sense” to align USF’s policies with the “best practices” adopted
16    by similar schools that had prohibited relationships between faculty and students they teach, coach,
17    or “over whom they otherwise hold authority.” Id. (citing USF_0041335 at -337-338). USF’s Title
18    IX office later recommended adopting a Consensual Relationship Policy aimed at addressing the
19    power differentials within relationships between employees and students, to protect community
20    members from abuse and exploitation. Id. ¶ 51 (citing USF_0055085). Yet, inexplicably, to
21    Plaintiffs’ knowledge, this policy has yet to be adopted.
22
                  B.     USF Lacks Adequate Policies to Prevent and Redress Sexualized Conduct by
23                       Coaches or to Educate Student-Athletes on Responding to Such Abuse.

24                As USF acknowledges internally, where left unchecked by appropriate policies, coaches

25    can wield their power with tragic consequences. Despite the clear need and their own admissions,

26    USF did not have any sexual misconduct prevention policy that addressed the power dynamics

27    6
       Celia Brackenridge & Sandra Kirby, Playing Safe: Assessing the Risk of Sexual Abuse to Elite
28    Child Athletes, INT’L REVIEW FOR THE SOCIOLOGY OF SPORT: SPECIAL ISSUE ON YOUTH SPORT
      13 (1997), available at https://bit.ly/3UZ8SII (emphasis supplied).
                                                                      PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1    between coaches and student-athletes during the class period. Boland Rep. ¶ 53

 2                There is no question USF has the responsibility to—and does—exercise institutional control

 3    over coaches. USF dictates almost every aspect of a coach’s job, including qualifications to work,

 4    trainings to complete, when to work, when to interact with athletes, how to disseminate information

 5    from the NCAA to their staff, and when and how they can recruit new athletes. Id. ¶ 55. USF also

 6    enforces detailed NCAA rules that further define what coaches can and cannot do. Id. ¶ 56.

 7                Yet, remarkably, USF has no policies (1) prohibiting sexual communication or sexual

 8    conduct between coaches and student-athletes, (2) mandating training related to the power dynamic

 9    between coaches and student-athletes and to the inability of student-athletes to consent to any form

10    of sexual communication or sexual conduct with their coaches, or (3) requiring appropriate team

11    environments free from any form of sexual communication or sexual conduct between coaches and

12    student-athletes. Id. ¶ 58.7 And the limited training provided to coaches focuses on student-on-

13    student complaints, not misconduct by coaches. Id. ¶ 59. These policy failures place USF far below

14    minimal acceptable standards for college sexual misconduct policies. Id. ¶ 50.

15                USF likewise exercises substantial control over student-athletes. Id. ¶ 63. That control is

16    reflected in a number of handbooks and policies. Yet none addresses the power dynamic between

17    coaches and student-athletes, the effect of the power dynamic on consent with respect to sexual

18    communications or sexual conduct by coaches directed at student-athletes, or how to handle sexual

19    communications or sexual conduct by coaches directed at student-athletes. Id. ¶¶ 63-75.

20                For instance, USF’s 2018 “Sexual Misconduct Policy” addresses only student-on-student

21    sexual misconduct, noting that USF may “impose different sanctions when a student is found to

22    have violated this policy.” Id. ¶ 74 (citing USF_0001695 at 697) (emphasis supplied). It makes no

23    mention of coaches facing sanctions for their sexual misconduct. Id. Similarly, USF’s 2021

24    “Interim Policy and Procedures, Nondiscrimination Based on Sex and Gender, Sexual Harassment,

25    and Sexual Misconduct for All Students, Employees, and Third-Parties” contains no mention of

26    sexual interactions or sexual communications between coaches and student-athletes, nor how the

27
      7
       Boland reviewed every policy and training document produced by USF through November 15,
28    2024. MvK Decl. ¶ 12. However, USF’s production remains incomplete, including its production
      of discovery Plaintiffs identified as key for class certification. Id. ¶ 10.
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 1    power dynamic between them affects the concept of consent. Id. ¶ 75 (citing USF_0004838).

 2                Indeed, despite acknowledging the need for a policy prohibiting relationships and other

 3    sexual conduct between faculty and students—and despite the existence of such a policy at many

 4    “ideologically and/or geographically similar institutions to USF”—USF still has no policy that

 5    addresses allegedly “consensual relationships between employees, staff, faculty, and students.” Ex.

 6    2 at -372. This is so, despite USF’s acknowledgment of the power dynamics at play in sexual

 7    harassment. See Ex. 37 at -56 (training describing sexual harassment as occurring in the context of

 8    one who “abuses existing power dynamic”).

 9                Nor does USF provide training to student-athletes to address sexual interactions or sexual

10    communications between coaches and student-athletes, or on how the power dynamic between

11    them implicates consent. Boland Rep. ¶ 76. While USF does provide training on topics like dating

12    violence, sexual assault, and stalking, no training addresses sexual misconduct in the context of

13    athletic power dynamics. Id. ¶¶ 78-79. This is consistent with Plaintiffs’ own experience—the Title

14    IX training they received focused on student-on-student misconduct, not on protecting them from

15    their coaches. See, e.g., Doe 3 Tr. at 17:7-20; 19:25-20:10; Doe 1 Decl. at ¶ 6; Doe 3 Decl. at ¶ 6.

16                USF’s approach to trainings reflects a strategic emphasis on complying with USF’s

17    reporting requirements under the Clery Act, focusing narrowly on issues like domestic violence,

18    dating violence, sexual assault, and stalking. Boland Rep. ¶ 78. This suggests that USF’s focus is

19    not on protecting its students, but rather on limiting the number of reportable incidents and keeping

20    its official numbers low. Id. ¶¶ 81-82. Sadly, this attitude allowed the Coaches’ misconduct to

21    continue unchecked for decades, despite that misconduct occurring in plain sight and prompting

22    multiple complaints to the administration over the years.

23                C.     Left Unchecked by USF, the Coach Defendants Created an Intolerable
                         Sexualized Environment on and off the USF Baseball Field.
24                In the complete absence of appropriate policies, the heightened risk of abuse materialized
25    for members of USF’s baseball team who played under the Coaches. Copious evidence from not
26    only the Plaintiffs but also internal USF documents, correspondence, and the Defendants’ own
27    admissions indicate that, throughout the class period, the Coaches created an intolerable sexualized
28    environment in which they subjected players to sexual degradation and psychological abuse.
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 1                Plaintiffs’ experiences span more than two decades.8 Yet every Plaintiff either directly

 2    experienced or witnessed the Coaches engage in sexualized conduct, which by definition is sexual

 3    misconduct. Boland Rep. at ¶¶ 42-43, 49. For example, Nakamura regularly exposed himself to

 4    players, both on and off the field, and both Coaches showered with the players. See, e.g., Doe 4

 5    Decl. ¶ 3 (“Naks so often exposed himself to us that players also had the expression: ‘If Coach

 6    Naks whips his dick out, you know he’s in a good mood.’”).9 Both Coaches engaged in sexualized

 7    bullying, regularly analyzed and commented on players’ genitals, demanded players partake in

 8    sexualized skits or discuss sexual topics, and made sexual comments about female students on

 9    campus (including Plaintiffs’ romantic partners). See, e.g., Doe 12 Decl. ¶¶ 4-5 (“I was shocked at

10    how often Giarratano would talk about peoples’ penises.”); Doe 4 Decl. ¶ 3 (noting the Coaches

11    “constantly commented on the shape and size of players’ penises”).10

12                Every Plaintiff also directly experienced or witnessed one or both Coaches engaged in

13    psychological abuse or threats of violence, which is a form of grooming to ensure the players submit

14    to other sexualized conduct. Boland Rep. ¶ 48. For example, both Coaches often belittled players

15    (Doe 4 Decl. ¶ 4), calling them a “disgrace” (Doe 9 Decl. ¶ 6), “worthless” (Doe 3 Tr. at 251:25-

16    252:2), and a “fucking embarrassment,” “a piece of shit,” “a fuck-wit-freshman,” and “a nobody”

17    (Doe 10 Decl. ¶¶ 8, 9), and “a fucking pussy” (Doe 11 Decl. ¶ 5; Doe 12 Decl. ¶ 8 [also calling Doe

18    12 a pussy]; Doe 14 Decl. ¶ 5 [same]).11 At one point, Giarratano, holding a bat, told Doe 3, “I wish

19    8
        The examples cited herein are far from exhaustive, but reflect the consistency of the Coaches’
      disgusting and unlawful behavior over time.
20    9
        See also, e.g., Doe 5 Decl. ¶ 3 (“On multiple occasions, Naks exposed himself in front of myself
      and other players, which was accepted as a normal part of team culture.”); Ex. 3 (Doe 1 Tr.) at
21    95:10-12 (“I remember [Nakamura] crawling out onto the field like a bear, completely naked.”),
      303:22-304:5 (both Coaches showering with the players); Ex. 4 (Doe 2 Tr.) at 39:13-40:1
22    (Nakamura getting naked in front of players in the locker room and, later, removing his clothing
      and jumping on the table in the press box); Ex. 5 (Doe 3 Tr.) at 167:19-170:2 (Nakamura swinging
23    his penis in a circle like a helicopter); Doe 6 Decl. ¶ 2 (“Naks crawling on the field naked in front
      of the team”); Doe 14 Decl. ¶ 4 (Nakamura’s weekly showers with players); Doe 12 Decl. ¶ 6 (both
24    Coaches waited to shower with the players with their genitals exposed).
      10
25       See also, e.g., Doe 11 Decl. ¶¶ 3-5 (“Giarratano persistently asked me about my sex life in front
      of the other players.”); Doe 13 Decl. ¶ 3 (describing the sexualized skits); Doe 3 Tr. at 175:22-
26    176:19 (Nakamura asking him about his sex life and encouraging him to sleep with drunk girls);
      Doe 1 Tr. at 94:7-96:2 (Nakamura making sexual comments about women on campus and
27    discussing sexualized skits); Doe 2 Tr. at 58:24-59:4 (Nakamura “look[ing] for the best looking
      and youngest college female to walk his dog”); Doe 5 Decl. ¶ 6 (Giarratano saying he played “like
28    a . . . faggot[]”);Doe 9 Decl. ¶ 6 (Nakamura calling players “faggots”).
      11
         See also Doe 13 Decl. ¶ 5 (“Giarratano would tell me things such as, ‘You can take your fat ass
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 1    more than anything I could hit you . . . with this bat and maybe knock some fucking sense into your

 2    brain.” Doe 3 Tr. at 259:1-4. On another occasion, Giarratano, in front of parents and coaches,

 3    yelled at Doe 2, calling him a “fucking cunt.” Doe 2 Tr. at 46:18-47:5.

 4                Plaintiffs were not alone: the limited discovery produced to date reveals numerous other

 5    class members experienced this misconduct.12 For example, one parent of a former player wrote to

 6    Athletic Director (“AD”) Joan McDermott in March 2022 that he “was not surprised” to hear about

 7    this lawsuit because his son, too, had been subjected to the “toxic” culture on USF’s baseball team.

 8    Ex. 6. Another filed a Title IX complaint after his son was “bullied, intimidated and abused by the

 9    coaching staff during the fall of 2020,” after which he “was essentially forced to quit” the team.

10    Ex. 7 at -655. Like Plaintiffs, that individual

11                                         Id.; see also Ex. 8 (email from another parent describing the

12    “demeaning and degrading” way in which the Coaches treated her son and the “horrific experience”

13    that led him to give up baseball).

14                Complaints from other members of the USF community reveal the Coaches’ toxic culture

15    was widely known on campus. In 2019, for example, Title IX Coordinator Jess Varga received a

16                                                                       Ex. 9. In response to the student’s

17    demand that Ms. Varga note the USF baseball team                                    Ms. Varga said she

18    would speak to the AD and “imagine[s] we will be involving the baseball team head coach at some

19    point.” Id. USF has not produced any evidence that such a meeting occurred. In August 2021—

20    before Does 1-3 and others made Title IX complaints—three members of USF women’s soccer

21    team spoke with another member of the Title IX office about sexual misconduct on the baseball

22    team. Ex. 11. They told her it was “common[ly]” known that the baseball team had “for a long

23    time” a system of fining players, including for their sexual relationships; that “[a] council meets

24    once a week to decide who gets fined”; that people felt “[g]ross about interacting with the team”;

25    and that “[o]ff-campus[,] they tell people to stay away from the baseball team.” Id. They noted that

26    in a canoe and paddle back [home].’”); Doe 1 Tr. at 99:17-21 (“Naks once told me I was tearing up
      the fabric of the culture of the team for deciding to return . . . for my sophomore year.”); Doe 5
27    Decl. ¶ 9 (telling Doe 5 he had “mental issues”); Doe 8 Tr. at 112:11-21 (explaining how Giarratano
      said Doe 8 was “not part of the brotherhood” and “nobody likes you here.”).
      12
28       Even players who were reticent to criticize the Coaches described Nakamura as “weird.” Ex. 10
      at -615.
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 1    “[a]ssistant [c]oaches were apart (sic) of the team, so . . . [they] kn[ew] about this.” Id. And on

 2    December 13, 2021, Ms. Varga emailed Athletic Department personnel and others in USF’s Title

 3    IX office “to discuss increasing concerns . . . regarding the baseball team”: after acknowledging

 4    that there had been prior conversations, Ms. Varga wrote “just this past week I have received more

 5    information alleging behaviors and a culture that are said to be known, particularly among women

 6    student-athletes, that are furthering my concern.” Ex. 12 at -2834.

 7                There is no real debate about whether the misconduct Plaintiffs allege occurred. After

 8    originally lying about his behavior during USF’s investigation, Nakamura admitted he was often

 9    naked in front of players, including by exposing his genitals on the baseball field and by

10    participating in sexual skits with players where his pants were down. Ex. 13 at -893. Giarratano,

11    too, ultimately admitted

12    Arb. Tr. at 1248:13-14, witnessed Nakamura expose himself on the baseball field, did not report it,

13    and knew he should have, Ex. 14 at -707. These admissions did not stop the Coaches from later

14    accusing Plaintiffs of fabricating these events under oath.13

15                USF’s belated internal investigation concluded the same. Assistant Vice President of

16    Human Resources Diane Nelson “determined that Troy [Nakamura] demonstrated poor judgment

17    inconsistent with athletic department and university policy” by exposing his genitals, engaging in

18    sexualized “baseball skits,” and using inappropriate language and sexual innuendo with students.

19    Ex. 15 at -761. Nelson’s findings regarding Giarratano were even more damning.

20

21

22

23

24

25

26                Ex. 16 (USF Suppl. Rog. Resps.) at 3. Upon reviewing Plaintiffs’ initial complaint in this

27    lawsuit in March 2022, even AD McDermott agreed: “The behavior of both baseball coaches is
      13
28      See, e.g., Doe 3 Tr. at 168:18-21 (“Q. I’ve spoken to a number of players, and nobody knows
      anything about this. Are you making this up? A. No.”).
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 1    disgusting.” Ex. 17 at -216. Indeed, when it has suited USF—i.e., in its arbitration against

 2    Giarratano—it has acknowledged both the existence and the severity of the Coaches’ misconduct.

 3    See, e.g., Ex. 18 (Giarratano Pre-Hearing Br.) at n.6 (

 4                                                            ); Ex. 16 (USF Suppl. Rog. Resps.) at 9-10

 5    (                                                                        .

 6                D.     Defendants Retaliated Against Players Who Resisted the Sexualized Conduct,
                         Causing a Deterrent Effect within the Team.
 7
                  As established by USF’s internal investigation, the Coaches’ abuse did not stop at their
 8
      underlying misconduct. Instead, they enforced their team motto: “                                .” Ex. 16
 9
      (USF Suppl. Rog. Resps.) at 3. It is well-documented that the Coaches engaged in a pattern and
10
      practice of retaliation against players who resisted their sexualized environment, in an express and
11
      successful effort to breed an omnipresent fear of retaliation. USF supported this retaliation by
12
      allowing the Coaches to run players off the team in record numbers and by permitting the Coaches
13
      to withdraw scholarships in violation of USF and NCAA policies.
14
                  Once again, every Plaintiff experienced some form of retaliation for refusing to accede to
15
      the Coaches’ sexualized demands. This retaliation took the form of, among other things, revoking
16
      or threatening to revoke scholarships (e.g., Doe 1 Decl. ¶ 11; Doe 2 Decl. ¶ 8; Doe 3 Tr. at 70:13-
17
      20; Doe 8 Tr. at 92:7-24; Doe 6 Decl. ¶ 8), providing no or less playing time (e.g., Doe 9 Decl. ¶ 9;
18
      Doe 12 Decl. ¶ 10; Doe 5 Decl. ¶ 10; Doe 1 Depo. at 126:3-13), causing academic problems (e.g.,
19
      Doe 5 Decl. ¶ 12; Doe 6 Decl. ¶ 11), ostracizing players (Doe 4 Decl. ¶¶ 4, 7; Doe 9 Decl. ¶¶ 5-6),
20
      forcing them to do extra physical tasks when injured (e.g., DoeDoe Doe 12 Decl. ¶ 7; Doe 1 Tr. at
21
      98:12-99:2; Doe 3 Tr. at 326:3-10), forcing unusual drug testing (e.g., Doe 14 Decl. ¶ 5; Doe 3 Tr.
22
      at 68:14-65:17), and blackballing their baseball prospects at other schools or professionally (e.g.,
23
      Doe 10 Decl. ¶ 11; Doe 8 Tr. at 121:10-17; Doe 2 Tr. at 209:17-210:21).
24
                  Moreover, the threat of retaliation was ubiquitous. As John Doe 8 testified: “[The Coaches]
25
      created this scared and power dynamic environment, . . . people were so scared to bring [their
26
      concerns] up directly to the coaches due to repercussions of scholarships being pulled, less playing
27
      time, and not, you know, buying into this ‘brotherhood.’” Doe 8 Tr. at 46:22-47:3. Discovery
28

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 1    confirms other players expressed similar fear about participating in USF’s investigation, with one

 2    noting AD McDermott “told the team ‘everything can be used and acts [sic] as if everything is

 3    recorded’ and it can come back to get you.” Ex. 10 at -615; see also id. at -616 (another stating:

 4    “These are very hard lines to cross [and] this is our career- it is tough and we do not want to mess

 5    up our career, and if someone finds out if someone said something, not the best for what we have

 6    going on.”). The players’ fears were justified: as set forth below, USF was long aware players were

 7    cut from or otherwise driven off the baseball team in startling numbers.

 8                E.     USF Was Long Aware of—and Permitted—the Coaches’ Abuse.
 9                USF knew its failure to enact appropriate policies resulted in an abusive culture throughout

10    its Athletic Department, from men’s soccer to women’s basketball.14 The baseball team was not

11    immune, but USF persistently ignored—or worse, actively concealed—evidence to the contrary.

12                The limited evidence to date demonstrates that, repeatedly throughout the class period,

13    people elevated concerns about the Coaches to authority figures at USF—all to no avail. As early

14    as 2000, John Doe 9’s mother complained to then-AD Bill Hogan about the Coaches’ abuse. Doe

15    9 Decl. ¶¶ 9-10. Hogan said he did not care and had no intention of stepping in to address the

16    misconduct. Id. ¶ 10. Similarly, in 2013, John Doe 8’s father spoke with members of USF’s

17    administration about the abuse and retaliation his son endured, including the Coaches’ sexualized

18    hazing and threats of revoking Doe 8’s scholarship. Ex. 19 at -350-51; Doe 8 Tr. at 37:4-39:2. John

19    Doe 8’s father even divulged that the Coaches’ abuse had led his son to contemplate suicide. Doe

20    8 Tr. at 37:12-38:3. Nothing came of these conversations.

21                In May of 2014, John Doe 6’s parents sent the USF Athletic Program, Associate AD,15 and

22    NCAA Faculty Athletic Representative (“FAR”)16 a letter describing the Coaches’ conduct and the

23    “hostile environment” they cultivated. Doe 6 Decl. ¶ 10; Ex. 21. Noting that they wrote “to make

24    the University aware,” they described the abuse to which their son and other players were

25    subjected—including being called “a cancer to the team,” “pathetic,” and “weak-minded”—and

26    14
         Ex. 38 (USF_0039959); Ex. 39 (USF_0028037).
      15
27       The Associate AD forwarded the communication to then-AD Sidwell. Ex. 22.
      16
         USF’s FAR, Jeremy Howell, described the FAR as an “institutional role . . . [that] provide[s]
28    independent reporting on athletics related matters to the University Athletic Oversight Board and
      the University President directly.” Ex. 23.
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 1    highlighted that he was “bull[ied] to quit [the team], because an outright termination would be

 2    something that would probably be questioned.” Id. They also made clear that their son was not

 3    alone: “Although we may be bringing these issues forward, we assure you there are other players

 4    and parents on the team in the same situation . . . Think about how many young men are leaving

 5    the team this year with a complete and utter distaste for the USF baseball program.” Id. at -615.

 6                In the wake of this letter, AD Scott Sidwell expressed profound concern about “the high

 7    rate of attrition on baseball roster” and Giarratano’s “lack of rationale” for pulling players’

 8    scholarships, Ex. 24, particularly in the context of players like John Doe 6 who, had only one year

 9    left before completing their degrees, Ex. 25. AD Sidwell recognized that revoking players’

10    scholarships would “put the students, staff, department and him in a situation that would be severely

11    criticized internally and externally in the media.” Id. As such, AD Sidwell offered to reinstate the

12    scholarships for John Doe 6 and another player, but, notably, did nothing to address the underlying

13    complaints of abuse—his internal email regarding John Doe 6’s parents’ complaint does not even

14    mention the abuse allegations. Id.17 John Doe 6 explains that “[o]nly after this case was filed did

15    [he] understand that this offer was actually an attempt to silence [him] and cover-up Giarratano and

16    Naks’ abusive behavior.” Doe 6 Decl. ¶ 13.

17                The 2014 incident with John Doe 6 was not the first or only time USF was alerted to the

18    baseball team’s disturbingly low retention rate—USF has known since at least 2009, and noted it

19    multiple times since then. See Ex. 26 (noting the goal for athletic team graduation rates is 70% or

20    above, but was 41% for the 2008-2009 baseball team). In 2011, another baseball player appealed

21    his revocation of athletic aid and asked the school to provide statistical information about non-

22    renewals or reductions of scholarship on the baseball team as compared to other sports. Ex. 27. The

23    school refused. Id. at -092. In 2014, FAR Howell expressed concern about Giarratano’s decision

24    not to renew another player’s scholarship (in addition to John Doe 6), writing to AD Sidwell: “Was

25    he failing? It cannot simply be because he was not playing well. I am always concerned when we
      17
26       Perhaps more disturbing, two weeks after the complaint was made, internal emails between AD
      Sidwell, FAR Howell, and Deputy AD Julie Ross reveal that they were still trying to justify
27    terminating Doe 6 and another player by finding grounds to claim both were medically disqualified
      from playing. Ex. 31. Despite medical staff’s “hoping we could get this done,” they could not: a
28    finding of medical disqualification would require “creat[ing] new medical issues for both of them.
      Which is not appropriate.” Id.
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 1    ask a kid to come here, and then after 1 year, tell him we are cutting his funding to be here.” Ex.

 2    28; see also Ex. 29 (email from Sidwell to Giarratano asking to discuss “a big spike in non

 3    renewals”). USF then conducted an analysis of the baseball team from 2011-2016; they found that

 4    in those six years, 50 student-athletes either graduated or exhausted their NCAA eligibility while

 5    38 either transferred to another school or left USF. Ex. 30 at -899.18 That is, USF was aware that

 6    almost as many players left USF’s baseball team as stayed. Similarly, a 2021 Title IX complaint by

 7    another class member revealed that nearly 60 percent of his recruiting class either transferred or

 8    intended to transfer, a fact his father noted as “a testament to the coaching staff’s ruthlessness and

 9    callous player treatment.” Ex. 7 (USF_0004448) at 658. The same year, Howell, the same FAR

10    who expressed concerns in 2014, again noted the problem. When alerted to the fact that Giarratano

11    intended to cut John Does 1-3 when they “have done anything that could result in having their

12    scholarships cut,” Howell responded: “Forced to leave [] play or kicked off roster if you stay . . . is

13    the EXACT false choice that Father Paul brought up with me. . . . They were recruited, so coach

14    them.” Ex. 32. When told another freshman baseball student was transferring and AD McDermott

15    attributed the departure to COVID, Howell said: “COVID has done a number for sure. Having said

16    that, we need to keep an eye on graduation rates” because “precovid baseball [was] only 43%.” Ex.

17    33; see also Ex. 7 at -658 (Title IX complaint noting that such “an abnormally high transfer rate

18    . . . can’t simply be explained away by the Covid-19 pandemic”).

19                Despite knowledge of both the abuse and the troubling transfer statistics, USF did nothing

20    to put an end to Giarratano’s and Nakamura’s reign or the untold harms it caused.19 Instead, USF

21    covered up the problem until the complaints grew too loud (and too public). In the spring of 2021,

22    John Doe 2’s parents emailed AD McDermott, demanding “an urgent in person meeting.” Ex. 34.

23    This email launched the series of events that culminated in the firing of both Coaches, an admission

24    by USF (but only internally) that their sexual misconduct likely violated Title IX, Ex. 16 (USF’s

25    18
         This document was produced on the evening of Friday, November 15, 2024, less than one week
26    before Plaintiffs’ class certification brief was due. MvK Decl. ¶ 13.
      19
         This was not for lack of ability to or interest in regulating coaches. Indeed, USF placed Giarratano
27    on probation in 2015 related to “extensive . . . [but] not exhaustive” “administrative issues,” such
      as mismanagement of team funds and numerous NCAA bylaw violations. Ex. 24. At the time, USF
28    was conspicuously silent on the by then well-documented accusations of abuse. Id. The reason is
      clear: USF only punished coaches when necessary to protect the bottom line.
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 1    Suppl. Rog. Resps.) at 3-4, and, ultimately, the filing of this lawsuit.

 2    III.        LEGAL STANDARD
 3                A class must satisfy Rule 23(a) and one of the three sections of Rule 23(b). In re Arris Cable

 4    Modem Consumer Litig., 327 F.R.D. 334, 348 (N.D. Cal. 2018). “When appropriate, an action may

 5    be brought or maintained as a class action with respect to particular issues.” Fed. R. Civ. P. 23(c)(4).

 6    An issue class must still satisfy Rules 23(a) and (b), with the exception of Rule (b)(3)’s

 7    predominance requirement. Avilez v. Pinkerton Gov’t Servs., Inc., 596 F. App’x 579 (9th Cir. 2015);

 8    Tasion Commc’ns, Inc. v. Ubiquiti Networks, Inc., 308 F.R.D. 630, 633 (N.D. Cal. 2015).

 9                A plaintiff need not “prove elements of their substantive case” to satisfy Rule 23. In re

10    High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167, 1187 (N.D. Cal. 2013). “Merits questions

11    may be considered to the extent—but only to the extent—that they are relevant to determining

12    whether the Rule 23 prerequisites for class certification are satisfied.” Amgen, 568 U.S. at 466. This

13    “determination can only be decided after the district court undertakes a ‘rigorous analysis’ of the

14    prerequisites for certification.” ABS Ent., Inc. v. CBS Corp., 908 F.3d 405, 427 (9th Cir. 2018)

15    (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011)).

16    IV.         ARGUMENT
17                Significant key discovery remains outstanding.20 Yet it is already clear this case meets the

18    requirements for Rule 23(c)(4) certification: all Rule 23(a) requirements are satisfied, and classwide

19    determination of the common issues will promote the fair, cost-effective, and consistent

20    adjudication of them for the class. Plaintiffs’ trial plan eliminates the need for multiple factfinders

21    to make repeat determinations on these issues, while preserving Defendants’ ability to defend the

22    claims as they see fit, including (in the event of a liability finding on any issue) by contesting class

23    members’ damages. This is consistent with the Ninth Circuit’s guidance on phased proceedings.

24    See Jimenez, 765 F.3d at 1167-68 (adopting the prevailing view that “determination of damages

25
      20
         On September 16, 2024, the Court ordered Plaintiffs to identify the discovery “key to class
26    certification,” and Defendants to “provide their timeline for production.” ECF No. 235. Plaintiffs
      identified this key discovery, but none of the Defendants have come close to completing production
27    of it (or even providing the timeline ordered by the Court). MvK Decl. ¶¶ 6-9. Moreover, there are
      numerous discovery disputes briefed but still pending, including over critical evidence such as the
28    testimony and evidence developed in the Giarratano-USF arbitration. Id. See ABS Ent., 908 F.3d at
      427 (noting need to permit appropriate discovery before “undertak[ing] that [Rule 23] analysis”).
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 1    may be reserved for individual treatment with the question of liability tried as a class action”).21

 2                A.     The Class Satisfies All Four Requirements of Rule 23(a).
 3                Rule 23(a) is satisfied if: “(1) the class is so numerous that joinder of all members is

 4    impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

 5    of the representative parties are typical of the claims or defenses of the class; and (4) the

 6    representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

 7    23(a). Plaintiffs easily clear the low threshold requirements of Rule 23(a).

 8                       1.      The Class Is Sufficiently Numerous.
 9                Although no strict numerical test applies, courts in this Circuit generally find the numerosity

10    requirement met with at least 40 class members. Rannis v. Recchia, 380 F. App’x 646, 651 (9th

11    Cir. 2010). Here, the proposed class includes hundreds of student-athletes,22 making joinder of all

12    class members impracticable and satisfying the numerosity requirement.

13                       2.      There Is at Least One Common Question with a Common Answer.
14                Certification is appropriate where “a classwide proceeding [can] generate common answers

15    apt to drive the resolution of the litigation.” Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1133

16    (9th Cir. 2016) (emphasis in original) (quoting Wal-Mart, 564 U.S. at 350). Commonality is a

17    “flexible standard,” Parra v. Bashas’, Inc., 536 F.3d 975, 978 (9th Cir. 2008), that is “construed

18    permissively,” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). Not “every question

19    of law or fact must be common to the class; all that Rule 23(a)(2) requires is ‘a single significant

20    question of law or fact.’” Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th Cir. 2013)

21    (emphasis in original) (cleaned up). That common question need not be one that “will be answered

22    on the merits, in favor of the class.” Amgen, 568 U.S. at 459. It must only “be of such a nature that

23    it is capable of classwide resolution—which means that determination of its truth or falsity will

24    resolve an issue that is central to the validity of each one of the claims.” Wal-Mart, 564 U.S. at 350.

25                Here, the proposed class’ claims involve numerous questions of law and fact that arise from

26
      21
27       Citing In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838, 853-55
      (6th Cir. 2013), Butler v. Sears, Roebuck & Co. (“Butler II”), 727 F.3d 796, 801-02 (7th Cir. 2013),
28    In re Deepwater Horizon, 739 F.3d 790, 810-17 (5th Cir. 2014).
      22
         See MvK Decl., ¶ 13 (citing USF_0101896).
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 1    conduct common to the class. Indeed, all of the questions posed below are common because, should

 2    the Court answer them in the negative, that answer would end this litigation for all class members.

 3    See Amgen, 568 U.S. at 470 (noting that the requirements of Rule 23(b)(3), more than is required

 4    here, will be satisfied where the common questions possess “a fatal similarity”) (citation omitted).

 5                Discrimination Claims. Plaintiffs and the class bring sex discrimination claims under

 6    Title IX and California law, asserting post-assault and pre-assault theories of liability as well as

 7    retaliation. All theories raise common questions that will be answered with common evidence.23

 8                First, to prove a post-assault claim, a plaintiff must show: (1) the school had “substantial

 9    control” over the accused; (2) the harassment was “so severe, pervasive, and objectively offensive

10    that it can be said to deprive the [plaintiff] of access to the educational opportunities or benefits”;

11    (3) an official with “authority to address the alleged discrimination and to institute corrective

12    measures” had knowledge of the harassment; (4) the school acted with “deliberate indifference,”

13    “such that the school’s ‘response to the harassment or lack thereof [was] clearly unreasonable in

14    light of the known circumstances’”; and (5) this deliberate indifference either caused the

15    harassment or made the plaintiff “vulnerable to it.” Karasek v. Regents of Univ. of Cal. (“Karasek

16    II”), 956 F.3d 1093, 1105 (9th Cir. 2020) (citations omitted). The school’s knowledge need not

17    be of current abuse; this element “is met when an appropriate official has actual knowledge of a

18    substantial risk of abuse . . . based on prior complaints of other students.” Roe ex rel. Callahan v.

19    Gustine Unified Sch. Dist., 678 F. Supp. 2d 1008, 1030 (E.D. Cal. 2009) (citation omitted).

20                Here, resolution of Plaintiffs’ post-assault theory raises numerous common questions that

21    will be answered with common evidence:

22                1. Whether USF had substantial control over the Coaches;

23                2. Whether the Coaches’ harassment was severe, pervasive, and objectively offensive;

24    23
         These are Counts I (Title IX) and V (California Education Code), respectively. The Court already
25    held that the “Title IX analysis governs the [California Education Code] § 66270 claim.” Doe 1 v.
      Nat’l Collegiate Athletic Ass’n, 2023 WL 105096, at *15 (N.D. Cal. Jan. 4, 2023) (citing Videckis
26    v. Pepperdine Univ., 100 F. Supp. 3d 927, 935 (C.D. Cal. 2015)).
      There is, however, one notable distinction between Plaintiffs’ federal and state discrimination
27    claims: damages and fees not available under Title IX may still be recoverable under California
      law. See Videckis, 2017 WL 11633265, at *2 (punitive damages); Cal. Code Civ. P. § 1021.5
28    (catalyst fees). This distinction is not relevant to the present motion, as Plaintiffs do not seek to
      certify damages and fee issues under Rule 23(c)(4).
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 1                3. Whether a USF official (of which Giarratano is one) knew of the harassment;

 2                4. Whether USF acted with “deliberate indifference” to the harassment; and
                  5. Whether this indifference made Plaintiffs and the class “vulnerable” to harassment.
 3
      Courts find that common questions of this nature satisfy Rule 23(a). In Rapuano v. Trustees of
 4
      Dartmouth College, for example, plaintiffs brought a class Title IX claim alleging Dartmouth was
 5
      aware that three professors created a sexually hostile environment for female students in a particular
 6
      department. 334 F.R.D. 637, 642 (D.N.H. 2020). The court found that whether the professors’
 7
      harassment was severe, pervasive, and objectively offensive was a common question that could be
 8
      answered with common evidence because “the professors’ misconduct created a baseline of equally
 9
      egregious sexual harassment to which all class members were subjected.” Id. at 647-48.24
10
                  Second, to prove a pre-assault claim, a plaintiff must show: “(1) a school maintained a
11
      policy of deliberate indifference to reports of sexual misconduct, (2) which created a heightened
12
      risk of sexual harassment that was known or obvious (3) in a context subject to the school’s control,
13
      and (4) as a result, the plaintiff suffered harassment that was ‘so severe, pervasive, and objectively
14
      offensive that it can be said to have deprived the plaintiff of access to the educational opportunities
15
      or benefits.’” Karasek II, 956 F.3d at 1112 (cleaned up). “[A] plaintiff is not required to allege that
16
      the school had actual knowledge that the plaintiff experienced sexual harassment or assault or that
17
      the school responded with deliberate indifference to the plaintiff’s experience of sexual harassment
18
      or assault.” Barnett v. Kapla, 2020 WL 7428321, at *6 (N.D. Cal. Dec. 18, 2020) (emphasis
19
      supplied). The focus is on the school’s indifference to reports of sexual misconduct, generally. Id.
20
                  Here, resolution of Plaintiffs’ pre-assault claim raises numerous common questions that will
21
      be answered with common evidence:
22
                  1. Whether USF had a policy of deliberate indifference to reports of sexual misconduct;
23
                  2. Whether this indifference created a heightened risk of sexual harassment in a context (its
24                   baseball program) subject to USF’s control; and
                  3. Whether the class suffered severe, pervasive, and objectively offensive harassment.
25
      Such questions are well-suited for class disposition. In Karasek v. Regents of Univ. of Cal.
26
      (“Karasek I”), plaintiffs alleged the university inadequately educated students about sexual
27
      24
28      Though Rapuano was certified in the settlement context, the court made clear that its analysis
      was no less rigorous than if it had been analyzing the class for litigation. 334 F.R.D. at 643-44.
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 1    misconduct, inadequately trained faculty on same, and ignored prior complaints. 500 F. Supp. 3d

 2    967, 985-86 (N.D. Cal. 2020). None of these facts were specific to plaintiffs; all provided common

 3    support for finding the university had “a policy of deliberate indifference to reports generally,”

 4    which “would naturally create an ‘obvious’ risk” as to sexual assault in a similar context. Id. at 987-

 5    89.25 Similarly, in Simpson v. University of Colorado Boulder, where plaintiffs alleged they were

 6    sexually assaulted by football recruits, the court found evidence sufficient to establish that the

 7    university had an official policy of deliberate indifference. 500 F.3d 1170, 1173 (10th Cir. 2007).

 8    Again, the court cited common evidence: reporting about sexual misconduct within college

 9    programs, an article on misconduct by players at Boulder, a prior complaint (not by plaintiffs), that

10    the handbook “does not . . . address the risk of sexual assault or harassment in the recruiting

11    program,” and the coach’s “hostility to those alleging sexual harassment.” Id. at 1183-84.

12                As in Karasek, Rapuano, and Simpson, Plaintiffs will offer common evidence to prove their

13    post- and pre-assault theories, some of which is detailed above: USF lacks (and has throughout the

14    class period) policies addressing coach-athlete misconduct, lacks appropriate reporting

15    mechanisms, fails to educate students or train staff regarding sexual misconduct, ignored

16    complaints about the Coaches’ misconduct dating back to at least 2000, and the Coaches maintained

17    a culture of secrecy and outward hostility to reporters of misconduct. See supra § II.B; Boland Rep.

18    § V.E. Whether (or not) this evidence is sufficient to prove USF’s liability on these claims is

19    therefore a question that will be answered in the same way for all class members.26

20                Finally, to prove retaliation, a plaintiff must show: protected activity, adverse action, and a

21    causal link. Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 867 (9th Cir. 2014).

22    Protected activity includes “speak[ing] out against sex discrimination.” Emeldi v. Univ. of Or., 698

23    F.3d 715, 725 (9th Cir. 2012); Burch v. Regents of Univ. of Cal., 433 F. Supp. 2d 1110, 1126 (E.D.

24
      25
25       See also Karasek v. Regents of Univ. of Cal. (“Karasek III”), 534 F. Supp. 3d 1136, 1150 (N.D.
      Cal. 2021) (“If a school intentionally (or with deliberate indifference) adopts a policy of
26    systemically failing to adequately educate students about sexual misconduct, that would seem to be
      just as much an ‘intentional’ act as a policy of ignoring reports of sexual misconduct.”).
      26
27       With respect to Plaintiffs’ claim regarding USF’s harassment policy under California Education
      Code § 66281.5 (Count VI), this too will turn on common evidence regarding the common content
28    of USF’s policy over time and USF’s universal failure to properly distribute it. See supra § II.B
      (detailing deficiencies in USF’s policies and Does’ testimony regarding failure to distribute them).
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 1    Cal. 2006) (“[C]omplaining informally . . . is a protected activity, as is complaining about the

 2    discriminatory treatment of others.”). Class retaliation claims are appropriate even where “many of

 3    the class members had not even been ‘members of the [] team at the time of retaliation,’” provided

 4    they “had been affected by the retaliation and were within the zone of interests protected by Title

 5    IX.” A. B. v. Hawaii State Dep’t of Educ., 30 F.4th 828, 841 (9th Cir. 2022) (citation omitted).

 6                Here, resolution of Plaintiffs’ retaliation claim raises numerous common questions:

 7                1. Whether members of the USF baseball team engaged in protected activity; and
                  2. Whether that activity was met with retaliation that resulted in a broader deterrent effect
 8                   within the USF baseball team.
 9    Courts find that questions of this nature satisfy Rule 23(a). The Ninth Circuit recently reversed an
10    order denying certification of a Title IX retaliation claim, rejecting the argument that the underlying
11    retaliation was “‘unique to the named Plaintiffs’ and [] therefore ‘not typical of the proposed
12    class.’” A. B., 30 F.4th at 834. The Court held that where, as here, the “retaliation had a deterrent
13    effect on female students more generally . . . that many of the class members were not the direct
14    targets of the alleged retaliation would not necessarily be a bar to classwide relief.” Id. at 841.
15                As in A.B., common evidence will show the Coaches’ retaliation—including a years-long,
16    documented practice of running players who refused their sexual conduct off the team—had the
17    “effect of broadly dissuading [players] from ‘raising the issue of sex discrimination’ out of fear that
18    the [Coaches] would likewise retaliate against them.” Id. at 840; see also supra § II.D.
19                Negligence Claims. To prove negligence,27 Plaintiffs and the class must show that the
20    “defendant[s] had a duty to use due care, that [they] breached that duty, and that the breach was
21    the proximate or legal cause of the resulting injury.” Vasquez v. Residential Invs., Inc., 118 Cal.
22    App. 4th 269, 278 (2004). The elements of duty and breach present common questions. Whether
23    USF (as an employer) is vicariously liable for the Coaches’ misconduct, or directly liable for its
24    own negligent hiring, supervision, and retention of them, likewise raises common questions.28
25    27
         Plaintiffs’ negligence claims are: Counts III (negligent supervision and retention of Nakamura),
26    IV (negligent supervision and retention of Giarratano), VII (gross negligence), VIII (negligence),
      IX (negligence failure to warn), and XI (negligent infliction of emotional distress). TAC at 106-15.
      28
27       Plaintiffs will use common evidence to demonstrate gross negligence: breaches were “an extreme
      departure from the ordinary standard of conduct.” Rosencrans v. Dover Images, Ltd., 192 Cal. App.
28    4th 1072, 1082 (2011). Plaintiffs’ negligent infliction of emotional distress claim mirrors their
      negligence claim. Hall v. Apollo Grp., Inc., 2014 WL 4354420, at *6 (N.D. Cal. Sept. 2, 2014).
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 1                A duty may arise in the context of a “special relationship.” Regents of Univ. of Cal. v.

 2    Super. Ct., 4 Cal. 5th 607, 619 (2018). The California Supreme Court has already held “that

 3    universities have a special relationship with their students and a duty to protect them from

 4    foreseeable violence during curricular activities.” Id. at 613. Courts may also weigh the Rowland

 5    factors of foreseeability and public policy to determine whether a duty exists. Id. at 629. “[T]he

 6    court’s task is not to decide whether a particular plaintiff’s injury was reasonably foreseeable,”

 7    but rather “to evaluate more generally whether the category of negligent conduct at issue is

 8    sufficiently likely to result in the kind of harm experienced.” Id. (cleaned up). However, case-

 9    specific evidence, such as notice to the defendant that a particular individual posed a foreseeable

10    risk, will weigh in favor of foreseeability. Id. at 630. In examining public policy, courts weigh

11    “moral blame,” the “overall policy of preventing future harm,” the “burden that recognizing a tort

12    duty would impose on the defendant and the community,” and “availability of insurance for the

13    risk involved.” Id. at 631-33 (emphasis omitted). In Regents, for example, the Court concluded

14    that “colleges will typically have access to more information about potential threats and a superior

15    ability to control the environment and prevent harm,” id. at 631-32, and “recognizing a legal duty

16    to protect students from foreseeable threats would [not] pose an unmanageable burden,” id. at

17    633. The Court therefore reversed the lower courts’ duty rulings, finding instead “that universities

18    owe a duty to protect students from foreseeable violence during curricular activities.” Id. at 634.

19                Once a duty is established, breach may be shown by demonstrating that the defendant’s

20    actions were not reasonable in light of those risks. Id. at 633. Evidence that a school or supervisor

21    was on notice of a risk may be evidence of breach because it goes to reasonableness. Id. at 630.

22                Finally, an employer may be found vicariously liable for the acts of its employees “arising

23    out of the employment,” including “willful and malicious torts of an employee as well as

24    negligence.” Farmers Ins. Grp. v. Cty. of Santa Clara, 11 Cal. 4th 992, 1003-04 (1995).

25    Alternatively, an employer and supervisors may be found directly liable for the negligent hiring,

26    supervision, and retention of employees. See Delfino v. Agilent Techs., Inc., 145 Cal. App. 4th

27    790, 815 (2006) (“Liability for negligent supervision and/or retention of an employee is one of

28    direct liability for negligence, not vicarious liability.”). Liability for negligent hiring, supervision,

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 1    or retention requires a showing that “the employer knew or should have known the employee was

 2    or became unfit or incompetent.” CACI No. 426 (cleaned up, citing authorities). And the

 3    employees themselves may of course be held individually liable for their own tortious conduct.

 4    C.A. v. William S. Hart Union High Sch. Dist., 53 Cal. 4th 861, 875 (2012).

 5                Resolution of the proposed class’s negligence claims will therefore present the following

 6    common issues that should be resolved on a class-wide basis:

 7                1. Whether a special relationship exists between USF and the USF baseball players, or
                     between the USF baseball coaches and USF baseball players;
 8
                  2. Whether abuse by the Coaches was foreseeable to USF, or abuse by Nakamura
 9                   foreseeable to Giarratano;
                  3. Whether recognizing a duty as to USF or the Coaches is consistent with public policy;
10
                  4. Whether USF was on notice of the risks posed by the Coaches, or Giarratano on notice
11                   of the risks posed by the Nakamura;
12                5. Whether USF failed to take reasonable steps with respect to the Coaches, or Giarratano
                     with respect to Nakamura, including by not terminating or adequately supervising;
13
                  6. Whether the Coaches’ conduct arose out of their employment; and
14                7. Whether, as head coach, Giarratano was responsible for the conduct of his subordinates.
15    Questions of this nature satisfy Rule 23(a). See Hilario v. Allstate Ins. Co., 642 F. Supp. 3d 1048,
16    1060 (N.D. Cal. 2022) (certifying class negligence claim; finding that “[w]hether Allstate breached
17    a duty to insureds by [taking certain action] are common questions of law and fact ‘capable of class-
18    wide resolution’”) (citation omitted), aff’d, 2024 WL 615567 (9th Cir. Feb. 14, 2024).
19                       3.     Plaintiffs’ Claims Are Typical of the Class.
20                The typicality requirement is met when the class representative’s claims rest on the same
21    legal theory as those of absent class members. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984
22    (9th Cir. 2011). The claims of named plaintiffs and class members need not be identical, and
23    “different factual circumstances” do not defeat typicality. Wolin v. Jaguar Land Rover N. Am.,
24    LLC, 617 F.3d 1168, 1175 (9th Cir. 2010).
25                The Plaintiffs’ claims are typical of the class because they arise from the same course of
26    conduct by Defendants and are rooted in identical legal theories. As set forth above, Plaintiffs’
27    discrimination claims turn on the severity of the Coaches’ misconduct, whether USF acted with
28    deliberate indifference to that misconduct, and whether USF’s indifference created a heightened
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 1    risk of abuse—questions that do not vary between Plaintiffs and the class. See, e.g., Rapuano, 334

 2    F.R.D. at 648 (finding named plaintiffs typical in similar class Title IX case). Plaintiffs’ negligence

 3    claims likewise advance the same duty owed to all class members (to protect from sexual

 4    misconduct) and the same breach of that duty (failure to take reasonable steps to do so). See, e.g.,

 5    Hilario, 642 F. Supp. 3d at 1061-62 (finding named plaintiff typical in negligence case).

 6                   4.          Plaintiffs and Counsel Have and Will Adequately Represent the Class.

 7                Adequacy is satisfied when (1) the plaintiff and counsel have no conflicts with the class;

 8    and (2) the plaintiff will “prosecute the action vigorously.” Staton v. Boeing Co., 327 F.3d 938, 957

 9    (9th Cir. 2003). Only conflicts that are “fundamental to the suit and that go to the heart of the

10    litigation” inform adequacy. In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 942 (9th Cir.

11    2015) (citation omitted). Plaintiffs and their counsel satisfy this “adequacy” prong.

12                First, the Does do not have any interests antagonistic to or in conflict with the interests of

13    the class. They and the class share a common interest in establishing Defendants’ legal obligations

14    under federal and state law, and in proving that Defendants failed to discharge those obligations

15    here. At base: Plaintiffs and the class share the common goal of holding USF and the Coaches to

16    account for their past misconduct, and in guaranteeing that USF take reasonable steps to protect

17    student-athletes from similar misconduct in the future. See, e.g., Rapuano, 334 F.R.D. at 648

18    (finding named plaintiffs adequate in similar class Title IX case).

19                Second, Plaintiffs have already shown their ability to handle and willingness to participate

20    in significant and complex litigation on behalf of all the class. They reviewed countless pleadings

21    and responded to significant discovery, including enduring forensic scans of their electronic

22    devices, granting unfettered access to their medical records and social media feeds, supplementing

23    their discovery responses to address questions from Defendants, and (for some) sitting for

24    depositions.29 They also submitted to psychiatric assessments to diagnose the past, current, and

25    long-term impact of the Coaches’ sexual misconduct and the USF’s failure to prohibit such

26

27
      29
        Doe 1 Decl. ¶¶16-18; Doe 2 Decl. ¶¶17-19; Doe 3 Decl. ¶¶12-14; Doe 4 Decl. ¶¶13-15; Doe 5
28    Decl. ¶¶21-23; Doe 6 Decl. ¶¶27-29; Doe 8 Decl. ¶¶11-13, 16; Doe 9 Decl. ¶¶16-18; Doe 10 Decl.
      ¶¶18-20; Doe 11 Decl. ¶14; Doe 12 Decl. ¶¶20-22; Doe 13 Decl. ¶¶17-19; Doe 14 Decl. ¶¶14-16.
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 1    misconduct.30 Moreover, they have not been deterred by Defendants’ at times outwardly antagonist

 2    conduct in this litigation, including during depositions.31

 3                Finally, proposed class counsel have demonstrated their commitment to representing the

 4    class in this litigation. Counsel began investigating Plaintiffs’ case in December 2021 and have

 5    since devoted substantial time and resources necessary to prosecute this action.32 Counsel have

 6    extensive experience in prosecuting complex litigation, including class actions and cases related to

 7    sexual misconduct. 33 They will continue to commit substantial resources to vigorously pursue this

 8    litigation on behalf of the class. 34 Adequacy is satisfied.

 9                B.      The Class Is Appropriate for Issue Certification under Rule 23(c)(4).
10                Plaintiffs seek certification only “with respect to particular issues” that will drive resolution

11    for the entire class. Fed. R. Civ. P. 23(c)(4). The Ninth Circuit has long recognized the propriety of

12    such issue classes: “Even if the common questions do not predominate over the individual questions

13    so that class certification of the entire action is warranted, Rule 23 authorizes the district court in

14    appropriate cases to isolate the common issues . . . and proceed with class treatment of these

15    particular issues.” Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996); see also

16    Jimenez, 765 F.3d at 1164 (affirming a district court order that took this approach); Amador v.

17    Baca, 2016 WL 8904537, at *3 (C.D. Cal. Nov. 18, 2016) (“[T]he Ninth Circuit endorses 23(c)(4)

18    liability classes.”); Lilly v. Jamba Juice Co., 308 F.R.D. 231, 244 (N.D. Cal. 2014) (certifying an

19    issue class under Rule 23(c)(4) “solely for purposes of determining liability”).

20                        1.      Determination of Common Issues Will Drive Resolution of this Action.
21                An issue class may be certified when it will “materially advance the litigation.” Tasion

22    Commc’ns, 308 F.R.D. at 633. Courts recognize that issue certification offers efficiencies by

23    “carving at the joints of the parties’ dispute.” Mejdrech v. Met-Coil Sys. Corp., 319 F.3d 910, 911

24    (7th Cir. 2003); see also Butler v. Sears, Roebuck & Co. (“Butler I”), 702 F.3d 359, 362 (7th Cir.
      30
25       Doe 1 Decl. ¶¶20-21; Doe 2 Decl. ¶¶21-22; Doe 3 Decl. ¶16; Doe 4 Decl. ¶¶9, 17; Doe 5 Decl.
      ¶¶17, 25; Doe 6 Decl. ¶¶15, 31; Doe 8 Decl. ¶¶7, 15; Doe 9 Decl. ¶¶12, 20; Doe 10 Decl. ¶¶14, 21;
26    Doe 11 Decl. ¶¶10, 18; Doe 12 Decl. ¶¶16, 24; Doe 13 Decl. ¶¶13, 20; Doe 14 Decl. ¶¶10, 18.
      31
         E.g., Doe 3 Tr. at 168:18-21.
27    32
         See Selbin Decl., ¶ 17; Fegan Decl., ¶. 14.
      33
28       See Selbin Decl., ¶¶ 2-14, Ex. 35 (resume); Fegan Decl., ¶¶ 3-12, Ex. A(resume).
      34
         See Selbin Decl., ¶ 16; Fegan Decl., ¶ 14.
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 1    2012) (“Is it more efficient, in terms both of economy and judicial resources and of the expense of

 2    litigation to the parties, to decide some issues on a class basis or all issues in separate trials?”).

 3                Plaintiffs detail above multiple common questions on their discrimination and negligence

 4    claims. Rule 23(c)(4) certification of each question is appropriate, as resolution of each will

 5    “accurately and efficiently resolve the question of liability, while leaving the potentially difficult

 6    issue of individualized damage assessments for a later day.” Kamakahi v. Am. Soc’y for Reprod.

 7    Med., 305 F.R.D. 164, 176 (N.D. Cal. 2015) (citing Jimenez, 765 F.3d at 1164). Indeed, the answers

 8    will depend on facts concerning USF’s uniform policies (or lack thereof) and the Coaches’ decades-

 9    long pattern of sexual misconduct, not the conduct of any one Doe or class member.

10                       2.      A Class Is Manageable and Superior to Multiple Individual Actions.
11                Rule 23(b)(3) also asks whether “a class action is superior to other available methods for

12    fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Certification is

13    appropriate where resolving common issues “in one fell swoop would conserve the resources of

14    both the court and the parties.” Martin v. Behr Dayton Thermal Prods. LLC, 896 F.3d 405, 416

15    (6th Cir. 2018). The inquiry is comparative, asking courts to weigh the relative benefits of

16    proceeding with and without a class. See, e.g., Levya v. Medline Indus. Inc., 716 F.3d 510, 515

17    (9th Cir. 2013) (reversing where the “district court concluded that class certification is not the

18    superior method of adjudication but did not suggest any other means for putative class members

19    to adjudicate their claims”); Williams v. Mohawk Indus., Inc., 568 F.3d 1350, 1358 (11th Cir.

20    2009) (“[W]e are not assessing whether this class action will create significant management

21    problems, but instead determining whether it will create relatively more management problems

22    than any of the alternatives.”) (citation omitted).

23                Consistent with Ninth Circuit precedent, Plaintiffs propose first proceeding with a class

24    trial on the common issues, followed by proceedings to adjudicate any issues (including damages)

25    specific to each class member. Jimenez, 765 F.3d at 1168 (citing Butler II); see also Butler II, 727

26    F.3d at 800 (a trial “limited to determining liability on a class-wide basis, with separate hearings

27    to determine [] the damages of individual class members . . . is permitted by Rule 23(c)(4) and

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 1    will often be the sensible way to proceed”).35 The bifurcation of common and individual issues

 2    (including damages) will create substantial efficiencies. See McMahon v. LVNV Funding, LLC,

 3    807 F.3d 872, 876 (7th Cir. 2015) (“It is well established that, if a case requires determinations of

 4    individual issues of causation and damages, a court may bifurcate the case into a liability phase

 5    and a damages phase.”) (cleaned up). Indeed, a class trial on the common issues is plainly superior

 6    to hundreds of individual trials on these same issues, using the same evidence. See Avilez, 596 F.

 7    App’x 579-80 (reversing and ordering district court on remand to “certify a class under Federal

 8    Rule of Civil Procedure 23(c)(4) on the issue whether there exists a prima facie case for liability,”

 9    and if so, “proceed to entertain [defendant’s] affirmative defenses and cull the class accordingly”).

10                The privacy interests at stake—the same interests that continue to necessitate Doe pleading

11    for the Plaintiffs—also strongly favor a class action over individualized trials on all issues. See,

12    e.g., Doe v. Roman Catholic Diocese of Covington, 2006 WL 250694, at *5 (Ky. Cir. Ct. Jan. 31,

13    2006) (noting that use of a class action “encouraged a large number of people to come forward

14    who would otherwise never have done so had they been left to their individual devices”).

15                Finally, the relatively small size of the class will make determination of individual issues

16    manageable. See, e.g., Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 627 (5th Cir. 1999)

17    (upholding superiority finding where “the class would consist of only hundreds, instead of millions,

18    of members”). Conversely, Defendants’ conduct in this matter demonstrates that individual trials

19    on common issues would be unmanageable and unfair. As the Court has seen firsthand, getting

20    even basic discovery from Defendants has required significant time and expense from Plaintiffs.

21    Selbin Decl. ¶¶ 17-18. Forcing Plaintiffs—and all other class members—to complete discovery

22    (and try these common issues) alone would quickly overwhelm and make financially unviable any

23    one of their individual cases—effectively rewarding Defendants for their discovery misconduct.

24    V.          CONCLUSION
25                Plaintiffs respectfully request that the issues above be certified pursuant to Rule 23(c)(4).

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         See also, e.g., Ellis v. Costco Wholesale Corp., 285 F.R.D. 492, 540 (N.D. Cal. 2012) (bifurcated
27    trial plan, in which liability is determined in phase one while entitlement to relief is adjudicated
      individually in phase two, “presents a manageable way to adjudicate” class members’ claims);
28    Galvan v. KDI Distrib. Inc., 2011 WL 5116585, at *12 (C.D. Cal. Oct. 25, 2011) (a “workable trial
      plan” supported superiority finding).
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 1    Dated: November 21, 2024       Respectfully submitted,

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